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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WESTVIRGINIA
                             %/8(),(/' DIVISION

OHIO VALLEY ENVIRONMENTAL
COALITION, WEST VIRGINIA
HIGHLANDS CONSERVANCY,
APPALACHIAN VOICES, and
THE SIERRA CLUB

               Plaintiffs,

v.                                                                               1:19-cv-00576
                                                               Civil Action No. _______________


BLUESTONE COAL CORPORATION

               Defendant.

     COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND FOR CIVIL
                             PENALTIES

        1.     This is a citizen suit for declaratory and injunctive relief as well as for civil

penalties against Defendant, Bluestone Coal Corporation, (“Bluestone”) for violations of the

Federal Water Pollution Control Act, 33 U.S.C. § 1251 et seq. (hereafter the Clean Water Act

(“CWA”)), and the Surface Mining Control and Reclamation Act, 30 U.S.C. § 1201 et seq

(“SMCRA”) at the Red Fox Mine in McDowell County, West Virginia.

        2.     As detailed below, Plaintiffs allege that Bluestone has discharged and continues to

discharge pollutants into waters of the United States in violation of Sections 301 and 402 of the

CWA, 33 U.S.C. § 1311, 1342, and the conditions and limitations of West Virginia/National

Pollutant Discharge Elimination System (“WV/NPDES”) Permit No. WV1006304 issued

pursuant to Section 402 of the CWA, 33 U.S.C. § 1342.

        3.     Plaintiffs further allege that Bluestone’s discharges of pollutants into waters

adjacent to the Red Fox Surface Mine violate the performance standards of SMCRA, the West
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Virginia Surface Coal Mining and Reclamation Act (“WVSCMRA”) and the terms and

conditions of West Virginia mining permit S007282.

                                  JURISDICTION AND VENUE

        4.       This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 (federal

question), 33 U.S.C. § 1365 (CWA’s citizen suit provision) and 30 U.S.C. § 1270 (SMCRA

citizen’s suit provision).

        5.       On June 4, 2019, Plaintiffs mailed notice of the violations and their intent to file

suit in letters addressed to the Defendant, the United States Environmental Protection Agency

(“EPA”), the Office of Surface Mining Reclamation and Enforcement (“OSMRE”), and the West

Virginia Department of Environmental Protection (“WVDEP”), as required by Section

505(b)(1)(A) of the CWA, 33 U.S.C. § 1365(b)(1)(A) and Section 520(b)(1)(A) of SMCRA, 30

U.S.C. § 1270 (b)(1)(A).

        6.       More than sixty days have passed since the notice letters were sent. EPA,

OSMRE, and/or the WVDEP have not commenced or diligently prosecuted a civil or criminal

action to redress the violations. Moreover, neither EPA nor WVDEP has commenced an

administrative penalty action under 309(g) of the CWA, 33 U.S.C. § 1319(g), or a comparable

state law to adequately redress the violations within the notice letters.

        7.       Venue in this District is proper pursuant to 33 U.S.C. § 1365(c)(1) because the

sources of the CWA violations are located in this District, and pursuant to 30 U.S.C. § 1270(c)

because the coal mining operation complained of is in this District.

        8.       Bluestone is a West Virginia corporation engaged in the business of mining coal.

Bluestone holds SMCRA and WV/NPDES permits for the Red Fox Mine in McDowell County,

West Virginia.
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       9.      Bluestone is a person within the meaning of Section 502(5) of the CWA, 33

U.S.C. § 1362(5) and 701(19) of SMCRA, 30 U.S.C. § 1291(19).

       10.     Plaintiff Ohio Valley Environmental Coalition is a nonprofit organization

incorporated in Ohio. Its principal place of business is in Huntington, West Virginia. It has

approximately 400 members. Its mission is to organize and maintain a diverse grassroots

organization dedicated to the improvement and preservation of the environment through

education, grassroots organizing, coalition building, leadership development, and media

outreach. The Coalition has focused on water quality issues and is a leading source of

information about water pollution in West Virginia.

       11.     Plaintiff West Virginia Highlands Conservancy is a nonprofit organization

incorporated in West Virginia. It has approximately 1,700 members. It works for the

conservation and wise management of West Virginia’s natural resources, and is one of West

Virginia’s oldest environmental activist organizations. The West Virginia Highlands

Conservancy is dedicated to protecting our clean air, clean water, forests, streams, mountains,

and the health and welfare of the people that live here and for those who visit to recreate.

       12.     Plaintiff Appalachian Voices is a nonprofit North Carolina corporation committed

to protecting the land, air, and water of the central and southern Appalachian region. It focuses

on reducing coal’s impact on the region. Appalachian Voices has more than 1,000 members, the

majority of which reside in the Appalachian region, including members in West Virginia. Its

concerns include the protection and restoration of West Virginia’s waters.

       13.     Plaintiff Sierra Club is a nonprofit corporation incorporated in California, with

more than 780,000 members and supporters nationwide including approximately 2,600 members

who reside in West Virginia and belong to its West Virginia Chapter. The Sierra Club is
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dedicated to exploring, enjoying, and protecting the wild places of Earth; to practicing and

promoting the responsible use of Earth’s resources and ecosystems; to educating and enlisting

humanity to protect and restore the quality of the natural and human environment; and to using

all lawful means to carry out these objectives. The Sierra Club’s concerns encompass the

exploration, enjoyment, and protection of surface waters in West Virginia.

       14.     Plaintiffs have members, including Dustin White and Erin Savage, who use,

enjoy, and benefit from the water quality in tributaries receiving discharges from Defendant’s

surface miens and downstream waters including Horsepen Creek, Big Creek, Cucumber Creek

and Jacobs Fork, all tributaries of the Tug Fork River. Their recreational and aesthetic interests,

including fishing, wading, and enjoying the waters of these streams are impaired as a result of

mining pollution from Defendant’s operations.

       15.     Plaintiffs’ members would like to recreate in areas downstream from where the

Red Fox Mine discharges. Because of pollution from this mine, Plaintiffs’ members refrain from

using or restrict their use of those streams. As a result, the environmental, aesthetic, and

recreational interests of these members are adversely affected by Bluestone’s excessive

discharge of pollutants. If Bluestone’s unlawful discharges ceased, the harm to the interests of

Plaintiffs’ members would be redressed. An injunction would redress Plaintiffs’ members’

injuries by preventing future violations of the limits in Bluestone’s permits. Civil penalties

would provide deterrence for future violations.

       16.     At all relevant times, Plaintiffs were and are “persons” as that term is defined by

the CWA, 33 U.S.C. § 1362(5) and SMCRA, 30 U.S.C. § 1291(19).

                    STATUTORY AND REGULATORY FRAMEWORK
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        17.     Section 301(a) of the CWA, 33 U.S.C. § 1311(a), prohibits the “discharge of any

pollutant by any person” into waters of the United States except in compliance with the terms

and conditions of a permit, such as a NPDES permit issued by EPA or an authorized state

pursuant to Section 402 of the CWA, 33 U.S.C. § 1342.

        18.     Section 402(a) of the CWA, 33 U.S.C. § 1342(a), provides that the permit-issuing

authority may issue a NPDES Permit that authorizes the discharge of any pollutant directly into

waters of the United States, upon the condition that such discharge will meet all applicable

requirements of the CWA and such other conditions as the permitting authority determines

necessary to carry out the provisions of the CWA.

        19.     The Administrator of EPA authorized WVDEP, pursuant to Section 402(a)(2) of

the CWA, 33 U.S.C. § 1342(a)(2), to issue NPDES permits on May 10, 1982. 47 Fed. Reg.

22363. The applicable West Virginia law for issuing NPDES permits is the Water Pollution

Control Act, W.Va. Code § 22-11-1, et seq.

        20.     Section 505(a) of the CWA, 33 U.S.C. § 1365(a), authorizes any “citizen” to

“commence a civil action on his own behalf. . . . against any person. . . . who is alleged to be in

violation of . . . an effluent standard or limitation under this chapter.”

        21.     Section 505(f) of the CWA, 33 U.S.C. § 1365(f), defines an “effluent standard or

limitation under this chapter,” for purposes of the citizen suit provision in section 505(a) of the

CWA, 33 U.S.C. § 1365(a), to mean, among other things, an unlawful act under Section 301(a)

of the CWA, 33 U.S.C. § 1311(a), and “a permit or condition thereof issued” under Section 402

of the CWA, 33 U.S.C. § 1342.
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       22.     In an action brought under Section 505(a) of the CWA, 33 U.S.C. § 1365(a), the

district court has jurisdiction to order the defendant to comply with the CWA and to assess civil

penalties.

       23.     Under Section 505(d) of the CWA, 33 U.S.C. § 1365(d), the court “may award

costs of litigation (including reasonable attorney and expert witness fees) to any prevailing or

substantially prevailing party, whenever the court determines such an award is appropriate.”

       24.     Section 309(d) of the CWA, 33 U.S.C. § 1319(d), provides that any person who

violates Section 301 of the CWA, 33 U.S.C. § 1311, or violates any permit condition or

limitation in a permit issued pursuant to Section 402 of the CWA, 33 U.S.C. § 1342, shall be

subject to a civil penalty payable to the United States of up to $25,000 per day for each violation.

       25.     Pursuant to the Federal Civil Penalties Adjustment Act of 1990, 28 U.S.C. § 2461,

as amended by the Federal Civil Penalties Inflation Adjustment Act Improvements Act of 2015,

Public Law 114-74, the court may assess a civil penalty of up to $54,833 per day for each

violation that occurred after November 2, 2015. See 40 C.F.R. § 19.4.

       26.     Section 506 of SMCRA, 30 U.S.C. § 1256, prohibits any person from engaging in

or carrying out surface coal mining operations without first obtaining a permit from OSMRE or

from an approved state regulatory authority.

       27.     At all relevant times, the State of West Virginia has administered an approved

surface mining regulatory program under SMCRA. See 30 C.F.R. § 948.10.

       28.     The WVSCMRA provides that “[a]ny permit issued by the director pursuant to

this article to conduct surface mining operations shall require that the surface mining operations

meet all applicable performance standards of this article and other requirements set forth in

legislative rules proposed by the director.” W.Va. Code § 22-3-13(a). In turn, WVDEP’s
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regulations provide that “[t]he permittee shall comply with the terms and conditions of the

permit, all applicable performance standards of the Act, and this rule.” 38 C.S.R. § 2-3.33.c.

         29.   State and federal performance standards under SMCRA and WVSCMRA

mandate that all discharges from permitted mining operations “be made in compliance with all

applicable State and Federal water quality laws and regulations and with the effluent limitations

for coal mining promulgated by the U.S. Environmental Protection Agency set forth in 40 C.F.R.

part 434.” 30 C.F.R. § 816.42; see also, 38 W.Va. C.S.R. § 14.5.b. Accordingly, violations of

effluent limitations are violations of SMCRA, WVSCMRA and Bluestone’s Mining Permits.

         30.   Like the CWA, SMCRA provides authority for citizen to sue “any. . . person who

is alleged to be in violation of any rule, regulation, order or permit. . . “ 30 U.S.C. § 1270(a)(1).

A citizen suit under SMCRA may be brought to compel compliance with the act. 30 U.S.C. §

1270. Pursuant to 30 U.S.C. § 1270(d) the court may award the costs of litigation, including

attorney and expert witness fees to any party whenever the court determines such an award is

appropriate.

                                              FACTS

         31.   Bluestone holds WV/NPDEs Permit WV1006304, which regulates discharges

from the Red Fox Surface Mine, an approximately 1300-acre mine in McDowell County, West

Virginia. Permit WV1006304 was most recently renewed on March 12, 2014, for a five-year

term ending on August 13, 2018. On October 23, 2018, WVDEP extended the permit until

February 13, 2019. On February 21, 2019, WVDEP again extended the permit, until August 13,

2019.
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       32.     Mining at the Red Fox Surface Mine is conducted pursuant to WVSCMRA permit

S007282. That permit was first issued by the WVDEP on August 2, 1982 and was most recently

renewed on June 29, 2018.

       33.     Bluestone’s WV/NPDES permit initially required compliance with the limits on

total recoverable selenium in Part A of the permit at outlets 005-008 by June 13, 2016. On June

21, 2016, WVDEP modified the permit to extend that compliance deadline until June 22, 2018.

       34.     Outlets 005 though 008 each discharge into tributaries of Dry Fork of the Tug

Fork River. Specifically, Outlet 005 discharges into Horsepen Creek; Outlet 006 discharges into

unnamed tributaries of Big Creek and Jacobs Fork; and, Outlets 007 and 008 each discharge into

Jacobs Fork.

       35.     In its monthly discharge monitoring reports, Bluestone has reported violations of

its own permit limits for total recoverable selenium on the dates shown in Appendix A.

                                 FIRST CLAIM FOR RELIEF
                                    (CWA VIOLATIONS)

       36.     Plaintiffs incorporate by reference, all allegations contained in paragraphs 1

though 35 above.

       37.     Since at least July of 2018, Bluestone has discharged and continues to discharge

pollutants from point sources, i.e Outfalls 005 through 008 of the Red Fox Surface Mine into

tributaries of Dry Fork of the Tug Fork River in excess of the limits allowed by permit

WV1006304.

       38.     Dry Fork and its tributaries, including Horsepen Creek, Jacobs Fork, Big Creek,

as well as unnamed tributaries receiving discharge from the Red Fox Surface Mine, are all waters

of the United States within the meaning of 33 U.S.C. § 1362(7).
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       39.     On information and belief, Defendant is in continuing and/or intermittent

violations of the CWA as a result of its exceedance of effluent limits in WV/NPDES permit

WV1006304.

       40.     Pursuant to sections 309(d) and 505 of the CWA, 33 U.S.C. §§ 1319(d) and 1365,

Bluestone is liable for civil penalties up to $54,833 for each violation that occurred after

November 2, 2015. See 40 C.F.R. § 19.4; 84 Fed. Reg. 2059 (Feb. 6, 2019).

       41.     Bluestone should be subject to an injunction under the CWA, ordering it to cease

its permit violations.

                                SECOND CLAIM FOR RELIEF
                                    (SMCRA Violations)

       42.     Plaintiffs incorporate by reference all allegations contained in paragraphs 1

through 41, above.

       43.     Pursuant to WVSCMRA and its implementing regulations, mining performance

standards are incorporated into Bluestone’s mining permit. 38 C.S.R. § 2-3.33.c.

       44.     Those performance standards require that discharges from surface mines “be

made in compliance with all applicable State and Federal Water quality laws and regulations and

with the effluent limitations for coal mining promulgated by the U.S. Environmental Protection

Agency set forth in 40 C.F.R. § 434.” 30 C.F.R. § 816.42; see also, 38 W.Va. C.S.R. § 14.5.b.

Accordingly, violations of effluent limitations contained within Bluestone’s WV/NPDES permit

are also violations of SMCRA, WVSCMRA, and Bluestone’s mining permit.

       45.     Each violation of Bluestone’s mining permit is a violation of SMCRA and is

enforceable under the statute’s citizen suit provision, 30 U.S.C. § 1270(a).

       46.     Bluestone is subject to an injunction under SMCRA ordering it to cease its permit

violations.
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                                    REQUESTS FOR RELIEF

       1.      A Declaration that Bluestone has violated and is in continuing violation of the

Clean Water Act and SMCRA;

       2.      An Injunction against Bluestone from operating its facilities in a manner that

would result in further violations of its permits;

       3.      An Order that Bluestone immediately comply with the effluent limitations

contained within permit WV1006304;

       4.      An Order that Bluestone immediately comply with the terms and conditions of

WVSCMRA permit S007282;

       5.      An Order that Bluestone pay an appropriate civil penalty of up to $54,833 per day

for each CWA violation;

       6.      An Order awarding Plaintiffs their attorneys’ fees, expert witness’s fees, and all

other reasonable costs and expenses incurred in the pursuit of this action; and,

       7.      A Grant of any other such relief as this Court deems just and proper.

                                               Respectfully submitted,

                                               /s/ J. Michael Becher
                                               J. MICHAEL BECHER (W.Va. Bar No. 10588)
                                               DEREK TEANEY (W.Va. Bar No. 10223)
                                               Appalachian Mountain Advocates
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                                               Counsel for Plaintiffs
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                APPENDIX A: VIOLATIONS OF SELENIUM LIMITS

       Month     Out-let   Para-meter   Limit   Units   Type   Reported   Units          %

                                                                                  Over Limit

   1    Jul-18      005    Se             4.7   μg/L    Avg        7.46   μg/L           59

   2    Jul-18      005    Se             8.2   μg/L    Max         8.3   μg/L            1

   3    Jul-18      006    Se             4.7   μg/L    Avg        7.18   μg/L           53

   4    Jul-18      006    Se             8.2   μg/L    Max        8.87   μg/L            8

   5    Jul-18      007    Se             4.7   μg/L    Avg        8.47   μg/L           80

   6    Jul-18      007    Se             8.2   μg/L    Max       13.92   μg/L           70

   7    Jul-18      008    Se             4.7   μg/L    Avg        7.59   μg/L           61

   8    Jul-18      008    Se             8.2   μg/L    Max       14.02   μg/L           71

   9   Aug-18       005    Se             4.7   μg/L    Avg        6.42   μg/L           37

  10   Aug-18       006    Se             4.7   μg/L    Avg        5.62   μg/L           20

  11   Aug-18       007    Se             4.7   μg/L    Avg       10.43   μg/L          122

  12   Aug-18       007    Se             8.2   μg/L    Max       14.23   μg/L           74

  13   Aug-18       008    Se             4.7   μg/L    Avg        9.86   μg/L          110

  14   Aug-18       008    Se             8.2   μg/L    Max       12.41   μg/L           51

  15   Sep-18       005    Se             4.7   μg/L    Avg        5.96   μg/L           27

  16   Sep-18       006    Se             4.7   μg/L    Avg        6.05   μg/L           29

  17   Sep-18       007    Se             4.7   μg/L    Avg       10.45   μg/L          122

  18   Sep-18       007    Se             8.2   μg/L    Max       13.06   μg/L           59

  19   Sep-18       008    Se             4.7   μg/L    Avg        9.56   μg/L          103

  20   Sep-18       008    Se             8.2   μg/L    Max       11.93   μg/L           45

  21   Oct-18       005    Se             4.7   μg/L    Avg        6.13   μg/L           30

  22   Oct-18       006    Se             4.7   μg/L    Avg        5.79   μg/L           23

  23   Oct-18       007    Se             4.7   μg/L    Avg        8.88   μg/L           89

  24   Oct-18       007    Se             8.2   μg/L    Max       12.78   μg/L           56

  25   Oct-18       008    Se             4.7   μg/L    Avg        9.41   μg/L          100

  26   Oct-18       008    Se             8.2   μg/L    Max       12.02   μg/L           47
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  27   Nov-18   005   Se       4.7   μg/L   Avg    6.20   μg/L     32

  28   Nov-18   006   Se       4.7   μg/L   Avg    6.24   μg/L     33

  29   Nov-18   007   Se       4.7   μg/L   Avg   10.22   μg/L    117

  30   Nov-18   007   Se       8.2   μg/L   Max   14.05   μg/L     71

  31   Nov-18   008   Se       4.7   μg/L   Avg    8.67   μg/L     84

  32   Nov-18   008   Se       8.2   μg/L   Max   11.72   μg/L     43

  33   Dec-18   005   Se       4.7   μg/L   Avg    5.61   μg/L     19

  34   Dec-18   006   Se       4.7   μg/L   Avg    5.44   μg/L     16

  35   Dec-18   007   Se       4.7   μg/L   Avg    9.74   μg/L    107

  36   Dec-18   007   Se       8.2   μg/L   Max   12.45   μg/L     52

  37   Dec-18   008   Se       4.7   μg/L   Avg    8.08   μg/L     72

  38   Dec-18   008   Se       8.2   μg/L   Max    9.77   μg/L     19

  39   Jan-19   005   Se       4.7   μg/L   Max    6.64   μg/L     41

  40   Jan-19   006   Se       4.7   μg/L   Avg    5.87   μg/L     25

  41   Jan-19   007   Se       4.7   μg/L   Avg    9.89   μg/L    110

  42   Jan-19   007   Se       8.2   μg/L   Max   13.00   μg/L     59

  43   Jan-19   008   Se       4.7   μg/L   Avg    8.46   μg/L     80

  44   Jan-19   008   Se       8.2   μg/L   Max   10.67   μg/L     30

  45   Feb-19   005   Se       4.7   μg/L   Max    5.60   μg/L     19

  46   Feb-19   006   Se       4.7   μg/L   Avg    5.64   μg/L     20

  47   Feb-19   007   Se       4.7   μg/L   Avg   10.23   μg/L    118

  48   Feb-19   007   Se       8.2   μg/L   Max   13.06   μg/L     59

  49   Feb-19   007   Se       8.2   μg/L   Max    9.10   μg/L     11

  50   Feb-19   008   Se       4.7   μg/L   Avg    7.62   μg/L     62

  51   Feb-19   008   Se       8.2   μg/L   Max   10.00   μg/L     22

  52   Mar-19   005   Se       4.7   μg/L   Avg    5.43   μg/L     16

  53   Mar-19   006   Se       4.7   μg/L   Avg    4.80   μg/L     2

  54   Mar-19   007   Se       4.7   μg/L   Avg    8.18   μg/L     74

  55   Mar-19   007   Se       8.2   μg/L   Max   12.50   μg/L     52
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  56   Mar-19   008   Se       4.7   μg/L   Avg   7.38   μg/L     57

  57   Mar-19   008   Se       8.2   μg/L   Max   10.5   μg/L     18

  58   Apr-19   005   Se       4.7   μg/L   Avg   6.45   μg/L     37

  59   Apr-19   006   Se       4.7   μg/L   Avg   5.30   μg/L     13

  60   Apr-19   007   Se       4.7   μg/L   Avg   6.05   μg/L     29

  61   Apr-19   007   Se       8.2   μg/L   Max   9.10   μg/L     11

  62   May-19   005   Se       4.7   μg/L   Avg   5.63   μg/L     11

  63   May-19   007   Se       4.7   μg/L   Avg   7.35   μg/L     20

  64   May-19   007   Se       8.2   μg/L   Max   8.70   μg/L     56

  65   Jun-19   007   Se       4.7   μg/L   Avg   8.03   μg/L      6

  66   Jun-19   007   Se       8.2   μg/L   Max   9.80   μg/L     71

  67   Jun-19   007   Se       8.2   μg/L   Max   9.30   μg/L     20

  68   Jun-19   008   Se       4.7   μg/L   Avg   6.70   μg/L     13

  69   Jun-19   008   Se       8.2   μg/L   Max   8.90   μg/L     43
